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                          UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

                                                          Case No. 1:23-cv-00669
 In Re: Beyond Meat, Inc., Protein Content
 Marketing and Sales Practices Litigation                      MDL No. 3059

                                                             Judge Sara L. Ellis



                MEMORANDUM IN SUPPORT OF PLAINTIFFS’
        MOTION FOR ATTORNEY’S FEES, COSTS, AND INCENTIVE AWARD


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        Pursuant to Federal Rule of Civil Procedure 23(h), Plaintiffs Angelique Roberts, Hannah

Offutt, Dylan Rushing, Orlandra Hawthorne, Nisha Albert, Adam Sorkin, Dartisha Anderson,

Christine Borovoy, Todd Miller, Richard D. Garcia, Erica Nichols Cook, Jennifer Speer,

Rosemarie Ramirez, Mary Yoon, Christopher Bates, and Stan Zakinov (collectively “Plaintiffs”)

respectfully submit this Memorandum in Support of Plaintiffs’ Motion for Final Approval of Class

Action Settlement (hereinafter the “Motion”).

                                    I.      INTRODUCTION

        After over two years of litigation, Plaintiffs and Class Counsel 1 successfully negotiated an

extraordinary settlement of the Settlement Class’s claims in the context of a defendant which was

experiencing financial constraints. The parties have reached a Settlement that will provide a $7.5

million non-reversionary common fund, providing a two-dollar refund to all participating

Settlement Class Members, for each Beyond Meat product they purchased (capped if they do not

have proof of purchase). On an individual class member basis, this two-dollar refund represents

approximately what they could have recovered at trial, and this recovery comes sooner and avoids

the significant risks of the continued litigation of a complex class action.

        By this motion, Class Counsel seeks an award of attorney fees and expenses for their efforts

litigating this contested case. Class Counsel not only negotiated the Settlement but organized

themselves after the order consolidating this case from the Judicial Panel on Multidistrict

Litigation (ECF Nos. 1, 6), drafted the consolidated complaint (ECF No. 12), and successfully

opposed a motion to dismiss (ECF No. 16). This is on top of the efforts that counsel expended in


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       Class Counsel refers to FeganScott LLC (with their co-counsel, Shindler, Anderson,
Goplerud and Weese), Levin Sedran & Berman, LLP, Lockridge Grindal Nauen PLLP, Mason
LLP, Shub & Johns, LLC, Smith Krivoshey, P.C., and Sultzer & Lipari, PLLC. This includes both
counsel which were appointed Interim Lead Class Counsel and members of the Plaintiffs’ Steering
Committee by the Court on February 17, 2023, as well as other counsel for the named Plaintiffs in
this case. ECF No. 6.

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their individual cases, before the MDL consolidation, researching their claims and developing their

pleadings.

        Moreover, the settlement negotiations were contentious. Declaration of Nick Suciu, ECF

No. 46-1 (“Suciu Decl. I”), at ¶¶ 15-19. Negotiations started back in the middle of 2022 prior to

the filing of the original complaint, prompted by Plaintiffs’ pre-filing notice letter to Defendant.

Id. These discussions led to the party’s first full-day mediation session, on October 11, 2022,

before the Honorable Wayne R. Andersen (Ret.). Id. While no resolution was found, this initial

mediation would lay the groundwork for follow up discussion and a second full-day mediation

before Judge Andersen on April 24, 2024. Id. Despite these efforts, the case would not settle after

several additional weeks of negotiations, with the help of Judge Andersen. Id. Ultimately, the

case only settled on May 6, 2024, when the parties finally signed a terms sheet.

        Class Counsel conducted extensive investigation and informal discovery to support

Plaintiffs’ negotiation position. Suciu Decl. I, at ¶¶ 11-14. Class counsel reviewed Defendant’s

financial statements, internal sales information, and engaged a consulting expert to conduct an

initial conjoint analysis to determine the potential liability in the case. Id. Notably, Defendant’s

financial condition has deteriorated to the point that its ability to remain a going concern, and thus

maintain the ability to pay any judgment achieved at trial, has been called into question by financial

commentators following its recent earnings releases. It was only after this extensive legwork that

Class Counsel was able to negotiate the Settlement Agreement. Given their efforts, Class Counsel

seeks an award of costs and attorneys’ fees in an amount of $2,500,000 ($78,746.07 in costs and

$2,421,253.93 in attorney’s fees).

        Additionally, this Settlement was made possible by the efforts of the named Plaintiffs and

proposed class representatives, Angelique Roberts, Hannah Offutt, Dylan Rushing, Orlandra



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Hawthorne, Nisha Albert, Adam Sorkin, Dartisha Anderson, Christine Borovoy, Todd Miller,

Richard D. Garcia, Erica Nichols Cook, Jennifer Speer, Rosemarie Ramirez, Mary Yoon,

Christopher Bates, and Stan Zakinov. Each of these individuals guided the litigation, provided

valuable feedback and information to Class Counsel, and agreed to lend their name to the current

action. Accordingly, Plaintiffs seek a service award to each of the named Plaintiffs in the amount

of $2,500.

                              II.   SUMMARY OF THE ACTION

A.       Litigation History

         This proposed class action arises from Beyond Meat’s alleged mislabeling of the Beyond

Meat Products. A number of the Plaintiffs filed their initial complaint in May of 2022 on behalf of

consumers who purchased the Beyond Meat Products at issue during the relevant class period,

predominantly from retail stores located in Illinois, Massachusetts, and New York. Roberts et. al

vs. Beyond Meat, Inc., No. 1:22-cv-02861 (N.D. Ill.), ECF No. 1. Additional cases were

subsequently filed, and Defendant moved to centralize this litigation in the Northern District of

Illinois under 28 U.S.C. § 1407.

         On February 2, 2023, the United States Judicial Panel on Multidistrict Litigation

transferred the cases to the Northern District of Illinois and assigned them to this Court for

coordinated or consolidated pretrial proceedings. 2 ECF No. 1. Plaintiffs in the consolidated MDL

are residents and citizens of California, Colorado, Florida, Illinois, Iowa, New York,


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      The consolidated cases include: Roberts, et al. v. Beyond Meat, Inc., C.A. No. 1:22−02861
(N.D. Ill.); Borovoy v. Beyond Meat, Inc., C.A. No. 1:22−06302 (N.D. Ill.); Garcia, et al. v. Beyond
Meat, Inc., No. 4:22−00297 (S.D. Iowa); Cascio v. Beyond Meat, Inc., No. 2:22−04018
(E.D.N.Y.); Miller v. Beyond Meat, Inc., No. 1:22−06336 (S.D.N.Y); and Zakinov v. Beyond Meat,
Inc., No. 4:23-cv-00144 (S.D. Tex.). Counsel for these Plaintiffs include FeganScott LLC (with
their co-counsel, Shindler, Anderson, Goplerud and Weese), Levin Sedran & Berman, LLP,
Lockridge Grindal Nauen PLLP, Mason LLP, Shub & Johns, LLC, Smith Krivoshey, P.C., and
Sultzer & Lipari, PLLC .

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Massachusetts, and Texas. Consolidated Complaint, ECF No. 12.

        Plaintiffs filed their Consolidated Class Action Complaint on May 3, 2023, alleging

Defendant violated state consumer fraud statutes: California’s Consumer Legal Remedies Act,

California Civil Code §§ 1750, et seq. (“CLRA”); California’s False Advertising Law, California

Business & Professions Code §§ 17500, et seq. (“FAL”); California’s Unfair Competition Law,

California Business & Professions Code §§ 17200, et seq. (“UCL”); Illinois’s Consumer Fraud

and Deceptive Business Practices Act, 815 ILCS 505/1, et seq.; Illinois Uniform Deceptive Trade

Practices Act, 815 ILCS 510/1, et seq.; Mass. Gen. Laws Chapter 93A, § 2; New York General

Business Law § 349 and § 350; Iowa’s Private Right of Action for Consumer Frauds Act, Iowa

Code § 714H; Texas’s Deceptive Trade Practices-Consumer Protection Act, Tex. Bus. & Com.

Code Ann. § 17.01, et seq.; Colorado’s Consumer Protection Act, Colo. Rev. Stat. Ann. §§ 6-1-

101, et seq.; Florida’s Unfair & Deceptive Trade Practices Act, Fla. Stat. § 501.201, et seq.;

breached its express and implied warranties; and violated the Magnuson-Moss Warranty Act, 15

U.S.C. § 2301, et seq. Id. Plaintiffs also sought claims for unjust enrichment, fraudulent

misrepresentation, fraud by omission, and negligent misrepresentation. Id.

        Defendant filed a motion to dismiss Plaintiffs’ claims on June 5, 2023. ECF No. 16. After

the parties fully briefed the motion, on February 21, 2024, the Court granted the motion in part

and denied it in part, dismissing Plaintiffs’ claims for injunctive relief and their front-of-label

protein misrepresentation claims. ECF No. 29. Following the Court’s opinion and order, Plaintiffs’

surviving claims, individually and on behalf of ten (10) proposed classes, included violation of the

Magnusson-Moss Warranty Act, 15 U.S.C. § 2301, et seq., violation of various state consumer

fraud acts, breach of express and implied warranty, negligent misrepresentation, and unjust

enrichment for the alleged misrepresentation of the “percent daily value” of protein on the Beyond



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Meat Products’ back label.

B.         Discovery and Settlement Negotiations

           The parties have broached settlement in this case multiple times. See Suciu Decl. I ¶¶ 15-

19. Indeed, Plaintiffs entered direct negotiations and later engaged Judge Andersen twice for

mediation, without coming to an agreement. Id. Over the course of their settlement discussions,

the parties exchanged informal discovery, including sales information. Id. Class Counsel also

examined publicly available financial information from Defendant’s quarterly and annual

Financial Reports, which raised going concern risks for the company. Id. ¶ 11. Such sales data was

combined with Plaintiffs’ protein testing to determine the estimated damages in this case. Id. ¶¶

11-14. Plaintiffs’ settlement position was further informed by initial reporting from Plaintiffs’

damages expert. Id. ¶¶ 13.

           It was only after several weeks of negotiation, following the second mediation on April 24,

2024, that the parties were able to come to an agreement. Id. ¶¶ 15-19. The parties signed a Term

Sheet on May 6, 2024, and finalized their Settlement Agreement on July 8, 2024. Id. ¶¶ 19.

                       III.   MATERIAL TERMS OF THE SETTLEMENT

A.         Monetary Relief

           Beyond Meat will contribute $7,500,000 to a “Settlement Fund” in full satisfaction of all

Settlement costs, including all payments to Settlement Class Members, Notice and Administrative

Costs, Attorneys’ Fees and Expenses, Settlement Class representative Service Awards and taxes.

Settlement Agreement 3 § IV(A). Notably, under the Settlement Agreement, Settlement Class

Members will be entitled to seek benefits whether or not they are able to provide proof that they

purchased the products. Id. § IV(C). If the Settlement Class Member does not have a proof of



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         The complete terms of the Settlement Agreement can be found at ECF No. 46-3.

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purchase, the Settlement Class Member can recover $2 per Beyond Meat Product, subject to a cap

on the number of products for which he or she can recover. Id. Where a Settlement Class Member

can and does provide proof of purchase, the Settlement Class Member can recover $2 per Beyond

Meat Product, without any cap. Id. In the event that the total claims made exceed the Net

Settlement Fund after paying the Notice and Administrative Costs, Attorneys’ Fees and Expenses,

and Service Awards, then the individual class benefit will be reduced pro rata. Id. § IV(D).

Similarly, if the total claims are less than the Net Settlement Fund, the remaining amount will be

distributed to participating Settlement Class Members. Id. At no point will any of the Settlement

Fund revert to Defendant. Id. § IV(M).

        To receive a cash payment, Settlement Class Members must file a timely and valid Claim

Form. Id. § IV(D), see also id. Ex. 1 (the claims form). The Claim Form may be completed either

online or by mail and must provide the number of Beyond Meat Product(s) purchased, along with

any proof of purchase. Id. The Settlement Administrator will be responsible for reviewing all

claims to determine their validity. Id. § IV(H).

B.      Notice and Other Administrative Costs

        Class Counsel has worked to ensure that notice is the best practicable and reasonably

calculated to apprise interested parties of the action so that they may make a claim, state their

objection, or exclude themselves from the settlement. Id. § VI. Notice publications will include a

website as well as a Media Plan tailored to maximize reach. Id. §§ VI(D)(1)-(2). All published

notices will provide a link to the Settlement Website, where individuals can access a Long Form

Notice describing the case and settlement, the Settlement Agreement, and other important

documents and court filings including the Complaint, Preliminary Approval Order, and, when

filed, the Final Approval Order. Id. § VI(D)(1). The Settlement Website will also allow individuals

to download and submit the Claim Form, opt out of the class, and access contact information for

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Class Counsel. Id.

         In addition, the Settlement Administrator will (1) maintain a toll-free number that Class

Members can use to request a copy of the Settlement Agreement, a claims form, and obtain any

other information concerning the Settlement; (2) process and record timely requests to be excluded

from the Settlement; and (3) serve notice of the Settlement on the appropriate state and federal

officials pursuant to the Class Action Fairness Act, 28 U.S.C. § 1715. Id. §§ VI(C), (D)(3), VII(B).

         The estimated cost of notice and settlement administration is $282,340. Declaration of

Nick Suciu, concurrently filed herewith (“Suciu Decl. II”), at ¶ 30. However, these costs are

correlated with the number of claims received. Id. Therefore, depending on the reaction to the

Settlement, the costs can be more or less than the estimate provided. Id.

C.       Service Awards

         As part of the Settlement Agreement, Plaintiffs may seek a Service Award to each of the

named Plaintiffs in the amount of $2,500. Id. § V(B).

D.       Attorneys’ Fees and Costs

         As is customary in common fund cases, Plaintiffs intend to seek reimbursement of their

costs and attorneys’ fees in an amount not to exceed 33 and 1/3 percent of the total Settlement

Amount (or $2,500,000). Id. § V(A); Suciu Decl. ¶ 32. However, the Settlement is not contingent

on any attorneys’ fees or cost award. Settlement Agreement, § V(C).

         Plaintiffs’ total litigation costs in this case are $78,746.07and fall within the following

categories:

     •   Filing/Service: $ $3,033.10
     •   Other Court Fees: $500.00 (such as pro hac vice fees)
     •   Mediator Fees: $23,259.75
     •   Postage and Courier Costs: $65.19
     •   Coping Costs: $342.91
     •   Telephone and other Communication Costs: $10.55


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     •   Expert Fees: $45,237.00
     •   PACER Fees: $47.10
     •   Online/Legal Research Fees: $1,169.69
     •   Travel: $4,918.94 (to attend the Mediations)
     •   Copies: $107.41
     •   Miscellaneous Costs: $59.15 (including notary and other professional services).

Suciu Decl. II, at ¶¶ 28-29.

                                      IV.     ARGUMENT

A.       The Requested Attorneys’ Fees are Reasonable and Should be Approved

         Under Federal Rule of Civil Procedure 23(h), courts may award “reasonable attorney’s fees

and nontaxable costs that are authorized by law or the parties’ agreement.” Fed. R. Civ. P. 23(h).

Courts in the Seventh Circuit apply one of two fee calculation methods: the “percentage of the

fund” method or the “lodestar” method. See Americana Art China Co. v. Foxfire Printing &

Packaging, Inc., 743 F.3d 243, 247 (7th Cir. 2014). The Court has discretion in choosing which

method to employ. Americana Art China Co., supra. However, “‘[t]he approach favored in the

Seventh Circuit is to compute attorney’s fees as a percentage of the benefit conferred upon the

class.’” In re Kentucky Grilled Chicken Coupon Mktg. & Sales Pracs. Litig., 2011 WL 13257072,

at *3 (N.D. Ill. Nov. 30, 2011) (citing Williams v. Gen. Elec. Capital Auto Lease, 1995 WL 765266,

at *9 (N.D. Ill. Dec. 26 1995); see also In re Dairy Farmers of Am., Inc., 80 F. Supp. 3d 838, 844

(N.D. Ill. 2015) (noting that the percentage method “has emerged as the favored method for

calculating fees in common fund cases in this district”). Indeed, “the ‘percentage method is

employed by the vast majority of courts in the Seventh Circuit.’” T.K. Through Leshore v.

Bytedance Tech. Co., 2022 WL 888943, at *24 (N.D. Ill. Mar. 25, 2022) (quoting Hale v. State

Farm Mut. Auto. Ins. Co., 2018 WL 6606079, at *7 (S.D. Ill. Dec. 16, 2018)).

         Here, Plaintiffs request an award of $2.5 million in attorneys’ fees, which represents

32.28% of the Settlement Fund and a 2.13 ($2,421,253.93 in fees requested/$1,132,655.60 in fees


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expended) multiplier of Class Counsel’s lodestar ($2,421,253.93 in fees requested/$1,132,655.60

in lodestar). Thus, under either approach, Plaintiffs’ requested fees and costs are reasonable.

        1.     The Requested Fees Are Reasonable Under the Percentage of the Fund Method

        “Under the percentage-of-recovery method, the attorneys’ fees equal some percentage of

the common settlement fund[.]” In re Online DVD-Rental Antitrust Litig., 779 F.3d 934, 949 (9th

Cir. 2015). This percentage approach aligns the incentives of the class members and their counsel

and thus encourages counsel to spend their time efficiently and to focus on maximizing the size of

the class’s recovery. In re Activision Sec. Litig., 723 F. Supp. 1373, 1375-76 (N.D. Cal. 1989).

Here, Plaintiffs request fee is reasonable under a percentage-of-recovery analysis, especially given

that it is a common fund with no reversion.

        The Seventh Circuit has stated that in assessing the reasonableness of a requested

percentage to award as attorneys’ fees, a “court should do its best to award counsel the market

price for legal services.” In re Stericycle Sec. Litig., 35 F.4th 555, 559 (7th Cir. 2022) (cleaned

up). In determining the market rate for legal work, district courts review factors including: (i) “the

risk of nonpayment a firm agrees to bear;”; (ii) “the quality of [Counsel’s] performance”; (iii) “the

amount of work necessary to resolve the litigation”; (iv) “the stakes of the case”; (v) the

“complexity, length, and expense of the litigation”; and (vi) “actual fee agreements, data from

similar cases, and class-counsel auctions.” Id. at 560; In re Dairy Farmers of Am., Inc., 80 F. Supp.

3d at 844. A review of these factors supports Class Counsel’s fee request.

               a.      The Risk of Nonpayment

        This factor recognizes the risk of nonpayment in cases prosecuted on a contingency basis

where claims are not successful, which can justify higher fees. See, e.g., Kujat v. Roundy’s

Supermarkets Inc., 2021 WL 4551198, at *4 (N.D. Ill. Aug. 11, 2021) (“A one third fee is also

reasonable in light of the significant risks of nonpayment that Plaintiffs’ counsel faced.”). Put

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simply, “‘A lawyer who both bears the risk of not being paid and provides legal services is not

receiving the fair market value of his work if he is paid only for the second of these functions. If

he is paid no more, competent counsel will be reluctant to accept fee award cases.” Browne v. Am.

Honda Motor Co., 2010 WL 9499073, at *11 (C.D. Cal. Oct. 5, 2010); Silverman v. Motorola

Solutions, Inc., 739 F.3d 956, 958 (7th Cir. 2013) (“Contingent fees compensate lawyers for the

risk of non-payment. The greater risk of walking away empty-handed, the higher the award must

be to attract competent and energetic counsel.”).

        Here, Class Counsel took on this complex class action, which takes years to resolve, after

several thousands of dollars of costs, on a contingent basis. And, while confident in Plaintiffs’

claims, there is still much litigation left until trial. Class Counsel would have to guide this case

through class certification, summary judgment and trial, which each have their own difficulties.

See Suciu Decl. II at ¶¶ 19-21. For example, Plaintiffs would have to prove, using scientific

evidence, that Defendant did not have the advertised daily value of protein, that this practice was

uniform and pervasive during the class period, and that it can be proven based on common

evidence. Further, even if Plaintiffs succeeded at class certification and trial, Defendants would

be entitled to their appeals. Thus, this case presented a substantial risk of nonpayment for Class

Counsel. See In re Cont’l Ill. Sec. Litig., 962 F.2d 566, 570 (7th Cir. 1992) (remanding for

reconsideration of “the fee due class counsel” where “they could have lost everything”).

        This risk was only compounded by Defendant’s perceived financial difficulties. See

Laurence Darmiento, HOW BEYOND MEAT IS TRYING TO GET ITS SIZZLE BACK, Los Angeles

Times (May 31, 2024) (available at www.latimes.com/business/story/2024-05-31/how-beyond-

meat-lost-some-of-its-sizzle) (“The sales decline has taken a sharp financial toll, with the

company’s cash position falling from $733 million in 2021 to $190 million last year. That



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prompted TD Cowen in a May earnings note to say the company may run out of money if it can’t

stem the bleeding or raise funds — an outcome [Beyond Meat] dismisses.”). Thus, even if

successful, Class Counsel risks trying to recover from a judgment-proof defendant.

        The fact Class Counsel undertook this representation, despite these significant risks,

supports the requested fee award.

               b.      The Quality of Counsel’s Performance

        This class action litigation presents challenges, especially in this case as outlined above.

Nonetheless, Class Counsel achieved an exceptional Settlement that provides significant monetary

relief, and proved they have the ability and resources to litigate this case zealously and effectively.

Indeed, it was only after months of negotiation, aided by Judge Andersen and two mediations, that

Class Counsel was able to achieve a result that secured members of the Class at least what they

likely could have received at trial. See Suciu Decl. I, ¶ 30 (“Indeed, each participating Settlement

Class Member may receive $2 per qualified Beyond Meat Product under the terms of the

Settlement. This is more than both the preliminary calculation of $0.06-$0.24 per product damages

that Plaintiffs estimated would be recovered if successful at trial for the dismissed front-of-the-

package claims and the preliminary calculation of $1.20 in estimated damages for the surviving

“percent daily value” protein claims.”). Additionally, Class Counsel had to litigate the case

through a motion to dismiss, a JPML hearing, and informal and expert discovery. Given these

results, it is unsurprising that Class Counsel has been recognized by courts across the country for

its expertise, including courts in this District and have been negotiating this Settlement for over a

year. See Declarations of Nick Suciu III, Elizabeth A. Fegan, Charles E. Schaffer, Robert K.

Shelquist, Danielle L. Perry, Jonathan Shub, Joel D. Smith, and Jason Sultzer, with the

accompanying exhibits, concurrently filed herewith. Class Counsel litigated this case efficiently,

effectively, and civilly. The excellent result is a function of the high quality of that work, which

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supports the requested fee award.

               c.      Amount of Work Necessary to Resolve The Litigation

        Class Counsel were aware that pursuing this Action beyond settlement would be lengthy

and expensive—it would require additional discovery, briefing, argument, trial, and potential

appeals, which would push off relief for several more years. Suciu Decl. II, at ¶¶ 20-23. In addition,

Class Counsel would have to expend hundreds of thousands of dollars retaining experts on, inter

alia, damages (such as conjoint and regressionary analysis) and consumer perception (to provide

insight on the expectations of a “reasonable consumer”), and then having those experts rebut any

evidence Defendant puts forth. Id.

        As discussed herein and in Class Counsel’s supporting Declarations, investigating,

prosecuting, and settling this matter required considerable commitment of time and resources.

Class Counsel zealously represented the interests of the Settlement Class from the inception of this

Action and will continue to do so through Final Approval. Class Counsel expended substantial

time and effort in the prosecution of this Action, and their coordinated efforts were critical to

achieving a substantial Settlement for the Settlement Class. Class Counsel expect to maintain a

high level of oversight and involvement in this Action and will continue to incur significant

amounts of time given the future work still needed for completion of the Settlement, including, but

not limited to continuing to oversee claims administration and answering Settlement Class

members’ questions; responding to any potential objections; preparing for and appearing at the

Final Approval Hearing; and resolving any appeals. Suciu Decl. II, at ¶¶ 25-26. This factor thus

weighs in favor of the requested fees and costs.

               d.      The Complexity, Length, and Expense of this Litigation

        The complex nature of this litigation further favors the requested fee award. Consumer

product class action lawsuits are complex, risky, and expensive to litigate, especially when

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considering the numerous unresolved issues that they present. See In re TikTok, Inc., Consumer

Priv. Litig., 617 F. Supp. 3d 904, 941 (N.D. Ill. 2022) (“A one-third flat fee also is routine for class

action settlements in similarly complex fields, such as … consumer protection litigation.”). This

is particularly true in this case. Before even getting to the merits, the number of cases and wide-

ranging public interest lead to the case being consolidated by the Judicial Panel on Multidistrict

Litigation. ECF Nos. 1, 6. Additionally, as previewed by Defendant’s Motion to Dismiss, this case

involves a number of legal disputes, often involving the complex intersection between numerous

state’s consumer protection laws and federal food labeling laws. See ECF No. 17. Additionally,

on the factual side, the case will involve expert discovery touching on scientific protein testing, as

well as consumer surveys, which will pose its own difficulties. Accordingly, this is far from the

type of routine cases, and requires seasoned class action attorneys, with the requisite knowledge

of food labeling regulations. Thus, this factor also favors Plaintiffs’ requested fees and expenses.

               e.      Stakes of the Case

        Given their inherent complexity and size, class action lawsuits are high stakes litigation.

Indeed, as noted above, Defendant’s financial situation may make this a “bet the company” level

litigation should it have moved forward. See Darmiento, HOW BEYOND MEAT IS TRYING TO GET

ITS SIZZLE BACK, Los Angeles Times (noting concerns regarding Defendant’s solvency). The

stakes were also high on the side of the Class. Settlement Class Members’ claims would likely

have faced numerous defenses, such as the possibility that the Court would dismiss the remainder

of Plaintiffs’ claims at summary judgment, decline to certify the Class or decertify the Class, or

that Plaintiffs would not prevail at trial. This would represent a lose of millions of dollars of

potential recovery. This factor supports approving Class Counsel’s fee request because despite

the uncertain nature of the Action, Settlement Class Members are nevertheless receiving real

benefits under the Settlement.

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                f.      Actual Fee Agreements, Data from Similar Cases, and Class-Counsel
                        Auctions

         The Seventh Circuit has held that “[w]hen a class suit produces a fund for the class, it is

commonplace to award the lawyers for the class a percentage of the fund … in recognition of the

fact that most suits for damages in this country are handled on the plaintiff’s side on a contingent

fee basis. The typical contingent fee is between 33 and 40 percent.” Gaskill v. Gordon, 160 F.3d

361, 362 (7th Cir. 1998) (emphasis added; internal citations omitted). Indeed, district courts within

the Seventh Circuit “regularly award percentages of 33.33% or higher to counsel in class action

litigation.” Hale, 2018 WL 6606079, at *10; Martin v. Caterpillar Inc., 2010 WL 11614985, at *2

(C.D. Ill. Sept. 10, 2010) (“[C]ourts in the Seventh Circuit award attorney fees equal to

approximately one-third or more of the recovery.”) (cleaned up). In the instant case, Class Counsel

requests an award of $ 2,421,253.93 in attorneys’ fees, which is equal to 32.28% of the Settlement

Fund ($7.5 million), well within the range of reasonableness.

         Here, all the factors support Class Counsel’s request for a fee that is 32.28% of the

Settlement Fund. 4

B.       The Requested Attorneys’ Fees are Also Reasonable Under a Lodestar Cross-Check

         A lodestar cross-check further supports the requested fee. To calculate lodestar, counsel’s

reasonable hours expended on the litigation are multiplied by counsel’s reasonable rates. See Blum

v. Stenson, 465 U.S. 886, 897 (1984); Summers, 2005 WL 3159450, at *1. The resulting figure



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      It is also worth noting that thirty-three and one-third percent is a standard percentage in many
contingency fee agreements, including large, complex non-class cases. See Lester Brickman, ABA
Regulation of Contingency Fees: Money Talks, Ethics Walks, 65 FORDHAM L. REV. 247, 248
(1996) (noting that “standard contingency fees” are “usually thirty-three percent to forty percent
of gross recoveries”); see also Blum v. Stenson, 465 U.S. 886, 903 (1984) (Brennan, J., concurring)
(“In tort suits, an attorney might receive one-third of whatever amount the plaintiff recovers. In
those cases, therefore, the fee is directly proportional to the recovery.”). Accordingly, a fee award
of 33.33% mimics what might have been agreed to absent any approval by the Court.

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may be adjusted at the court’s discretion by a multiplier, considering various equitable factors. See

United States ex rel. Perez v. Williams, 2013 WL 1181487, at *1 (N.D. Ill. Mar. 19, 2013) (“The

lodestar figure may be adjusted to reflect factors such as the complexity of the legal issues

involved, the degree of success obtained, and the public interest advanced by the litigation.”).

Where the lodestar is “used merely as a cross-check, the lodestar analysis can be ‘abridged.’” In

re Trans Union Corp. Priv. Litig., 2009 WL 4799954, at *17 (N.D. Ill. Dec. 9, 2009). 5

        Here, Class Counsel expended 1,511.75 hours of attorney and staff time, at a blended

billing rate of $749.23, for a total of $1,132,655.60 lodestar. Suciu Decl. II, at ¶¶ 17-18. This

represents a 2.13 lodestar multiplier (2,421,253.93 in fees requested/$1,132,655.60 in billing

expended). Id. Given this is an MDL, involving multiple cases, and a national case, this multiplier

is not unreasonable. Indeed, most multipliers range between one and four, with an average of 2.7.

In re TikTok, Inc., Consumer Priv. Litig., 617 F. Supp. 3d at 943 (noting “[i]n practice, most

multipliers fall between one and four.”); In re Lawnmower Engine Horsepower Mktg. & Sales

Pracs. Litig., 733 F. Supp. 2d 997, 1015 (E.D. Wis. 2010) (2.07 was a reasonable given that the

average multiplier was 2.7); see also Schulte v. Fifth Third Bank, 805 F. Supp. 2d 560, 598 (N.D.

Ill. 2011) (“The requested award here would represent a multiplier of less than 2.5, which is not

an unreasonable risk multiplier.”). This is particularly true given that this case.

        The base lodestar is often augmented by a multiplier based on the complexity of the legal

issues, the degree of success, and the public interest advanced by the litigation. Paz v. Portfolio

Recovery Assocs., LLC, 924 F.3d 949, 954 (7th Cir. 2019); Gastineau v. Wright, 592 F.3d 747,

748 (7th Cir. 2010). Also considered is the risk of non-payment. See Harman v. Lyphomed, Inc.,



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     While “[t]he use of a lodestar cross-check has fallen into disfavor” (George v. Kraft Foods
Glob., Inc., Nos. 1:08-cv03799; 1:07-cv-01713, 2012 WL 13089487, at *3 (N.D. Ill. June 26,
2012)), it still can be an important cross-check on reasonableness of a fee.

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945 F.2d 969, 976 (7th Cir. 1991). As discussed above, all of these factors are present in this case.

Class Counsel took this case on a contingency basis, with a significant risk of receiving no

payment, even if successful. Additionally, this class action involved consolidated MDL, involving

multiple Plaintiffs and putative classes. This case further involved complex legal and factual

issues, requiring significant expert testimony and scientific evidence. And Class Counsel secured

a settlement that, on an individual basis, will offer at least what could have been achieved at trial

for participating Settlement Class Members. Given these considerations, a relatively modest

multiple of 2.13 is appropriate.

            V.   THE COURT SHOULD AWARD THE REQUESTED EXPENSES

        This Court may also award reasonable expenses as provided for by the Settlement

Agreement. Fed. R. Civ. P. 23(h). Plaintiffs seek reimbursement of $78,746.07in litigation

expenses:

    •   Filing/Service: $ $3,033.10
    •   Other Court Fees: $500.00 (such as Pro Hac Vice fees)
    •   Mediator Fees: $23,259.75
    •   Postage and Courier Costs: $65.19
    •   Coping Costs: $342.91
    •   Telephone and other Communication Costs: $10.55
    •   Expert Fees: $45,237.00
    •   PACER Fees: $47.10
    •   Online/Legal Research Fees: $1,169.69
    •   Travel: $4,918.94 (to attend the Mediations)
    •   Copies: $107.41
    •   Miscellaneous Costs: $59.15 (including notary and other professional services).

Suciu Decl. II, at ¶¶ 28-29. These expenses consist primarily of meditation and expert-witness

fees but also include things such as court fees and service costs. Such costs were necessary to

bring this case to a successful resolution. Additionally, in total, Plaintiffs’ costs are proportionate

to the needs of the litigation relative to the benefit received by the Settlement Class. In re AT & T

Mobility Wireless Data Servs. Sales Tax Litig., 792 F. Supp. 2d 1028, 1041 (N.D. Ill. 2011) (“The

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Court also observes a 2004 empirical study, which found that ‘[c]osts and expenses for the sample

as a whole were, on average 4 percent of the relief for the class[.]’”) (citing Theodore Eisenberg

& Geoffrey P. Miller, Attorney Fees in Class Action Settlements: An Empirical Study, 1 J.

Empirical Legal Stud. 27, 70 (2004)).

         Such fees are the type of costs normally billed to clients in non-contingency matters. See

In re Synthroid Mktg. Litig., 264 F.3d 712, 722 (7th Cir. 2001) (“Reducing litigation expenses

because they are higher than the private market would permit is fine; reducing them because the

district judge thinks costs too high in general is not.”). Here, Plaintiffs expenses are itemized and

represented with the level of detail that would be required in the marketplace. Id.; In re Forefront

Data Breach Litig., No. 21-CV-887, 2023 WL 6215366, at *9 (E.D. Wis. Mar. 22, 2023).

Accordingly, such costs should be reimbursed to Class Counsel.

   VI.      THE REQUESTED SERVICE AWARD REFLECTS PLAINTIFFS’ ACTIVE
            INVOLVEMENT IN THIS ACTION AND SHOULD BE APPROVED

         Incentive awards are common in class actions and serve to “induce individuals to become

named representatives.” In re Synthroid Mktg. Litig., 264 F.3d at 722. Incentive awards fulfill the

important purpose of compensating plaintiffs for “the amount of time and effort the plaintiff[s]

expended in pursuing the litigation.” Wright v. Nationstar Mortage LLC, 2016 WL 4505169, at

*17 (N.D. Ill. Aug. 29, 2016). Here, the named Plaintiffs’ participation was critical to the ultimate

success of the case. Suciu Decl. II, at ¶¶ 4-6. Plaintiffs spent significant time protecting the interests

of the class through their involvement in this case. Id. Plaintiffs assisted Class Counsel in

investigating their claims by providing information necessary to draft and file the Complaint and

First Amended Complaint. Id. During the course of litigation, Plaintiffs kept in regular contact

with their lawyers to receive updates on the progress of the case and to discuss strategy and

settlement. Id.


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        On these facts, the $2,500 incentive payments to each named Plaintiff are appropriate in

light of their efforts to protect the interests of the other Settlement Class members, the time and

effort they expended pursuing this matter, and the substantial benefit they helped achieve for the

other Settlement Class members. Further, the incentive awards are reasonable, especially when

compared to greater awards approved by courts in this District. See, e.g., Leung v. XPO Logistics,

Inc., 326 F.R.D. 185, 205 (N.D. Ill. 2018) (approving an incentive award of $10,000 where

plaintiff’s participation was “more inconvenience than the average consumer would want to put

up with in the absence of an incentive to do so”); In re Cap. One Tel. Consumer Prot. Act Litig.,

80 F. Supp. 3d at 781, 809 (N.D. Ill. 2015) (“[A] $5,000 award is consistent with the awards

granted by other courts in this district in similar litigation.”) (citation omitted). Indeed, other courts

have suggested that the requested proposed $2,500 incentive payments are “modest” for the

amount of time and effort expended by the named Plaintiffs. In re Forefront Data Breach Litig.,

2023 WL 6215366, at *9 (“I conclude that incentive awards of $2,500 are warranted. This is a

modest sum and appropriate compensation for the work the class members did in reviewing

pleadings and settlement documents, providing information about their claims, and gathering

documents.”). Thus, the Service Fees should be awarded.

                                       VII.    CONCLUSION

        For the foregoing reasons, Class Counsel respectfully requests that the Court grant

Plaintiffs’ motion for an award of $2,500,000 in attorneys’ fees and expenses, and award each

named Plaintiff $2,500 ($40,000 cumulatively) for their time and effort in successfully prosecuting

this action.




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Dated: October 15, 2024               Respectfully submitted,

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                               CERTIFICATE OF SERVICE
        I, Nick Suciu III, the undersigned attorney, hereby certify that on October 15, 2024, I

caused the foregoing Memorandum to be served upon all counsel of record via the Court’s ECF

system.



                                                       /s/ Nick Suciu III
                                                          Nick Suciu III




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